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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re                                                      Chapter 11

 RTI HOLDING COMPANY, LLC., et al.,                         Case No. 20–12456 (JTD)

                                 Debtors.                   (Jointly Administered)
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission
pro hac vice of Robert T. Schmidt, Esquire of Kramer Levin Naftalis & Frankel LLP to represent the
Official Committee of Unsecured Creditors in the above-referenced cases.
Dated: October 28, 2020                         /s/ G. David Dean
                                                G. David Dean (No. 6403)
                                                COLE SCHOTZ P.C.
                                                500 Delaware Avenue, Suite 1410
                                                Wilmington, DE 19801
                                                Telephone: 302-652-3131
                                                ddean@coleschotz.com

             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bars of the State of New York and New
Jersey, and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which
occurs in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with the Standing Order for District Court Fund revised August 31, 2016. I
further certify that the annual fee of $25.00 has been paid to the Clerk of the Court for the District
Court.
Dated: October 28, 2020                         /s/ Robert T. Schmidt
                                                Robert T. Schmidt, Esquire
                                                KRAMER LEVIN NAFTALIS & FRANKEL LLP
                                                1177 Avenue of the Americas
                                                New York, NY 10036
                                                Telephone: (212) 715-9100
                                                Facsimile: (212) 715-8000
                                                rschmidt@kramerlevin.com

                               ORDER GRANTING MOTION
         IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




                                                            JOHN T. DORSEY
         Dated: October 28th, 2020                          UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware




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